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                  EXHIBIT

                               2
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

LONNIE LOVE,                          )(
                                      )(
       Plaintiff,                     )(        CIVIL ACTION
                                      )(        FILE NO.
v.                                    )(        ON REMOVAL FROM
                                      )(        STATE COURT OF
STATE FARM FLORIDA                    )(        FULTON COUNTY
INSURANCE COMPANY,                    )(        CAFN: 20EV007743
                                      )(
       Defendant.                     )(

                     DECLARATION OF OF SHAWN HOGGE

       Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

                                           1.

       I am Shawn Hogge. I am a United States citizen over the age of eighteen

years, I am competent to testify to the following, and I have personal knowledge of

all matters addressed herein.

                                           2.

       I am employed by State Farm Fire and Casualty Company as a claims

specialist.   State Farm Fire and Casualty Company and State Farm Florida

Insurance Company are both subsidiaries of State Farm Mutual Automobile




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Insurance Company. I am authorized to give this affidavit on behalf of State Farm

Florida Insurance Company.

                                          3.

      On September 23, 2020, I was assigned the responsibility of investigating

and evaluating the claim submitted by Plaintiff under policy no. 59-CK-S034-0

(“the Policy) related to an alleged theft loss that occurred on or about September 6,

2020 (“the Loss”).

                                          4.

      The address on the Declarations Page of the Policy is an Atlanta, Georgia

address. A true and correct copy of the Declarations Page is attached hereto as

Exhibit 1.

                                          5.

      Plaintiff maintains a residence in Alpharetta, Georgia, where he has lived for

about four years. (See Examination under Oath Transcript, excerpts of which are

attached hereto as Exhibit 2, at 7).

                                          6.

      Plaintiff lives with his children in Alpharetta, Georgia. (See Examination

under Oath Transcript at 8).




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                                            7.

       Although Plaintiff has a residence in Florida, during his examination under

oath, he declined to identify anyone with whom he lives in Florida.                     (See

Examination under Oath Transcript at 9).

                                            8.

       Plaintiff has a Georgia driver’s license.        (See Examination under Oath

Transcript at 7).

                                            9.

       During his examination under oath, Plaintiff testified that owns U Digg

Music Group; Love Holdings, LLC; Love Parking; and Money M.O.B. ENT. (See

Examination under Oath Transcript at 12). Plaintiff testified that all of the entities

are Georgia entities, except U Digg Music Group. (Id. at 12-13).

                                            10.

       Plaintiff submitted a sworn statement in proof of loss (“POL”), in which he

claimed that the amount of his loss, which is the subject of this lawsuit, is

$137,200.00. A true and accurate copy of this POL is attached hereto as Exhibit 3.

                                            11.

       Plaintiff filed suit against State Farm Florida Insurance Company in the

State Court of Fulton County, Georgia. State Farm Florida Insurance Company

was served with this lawsuit on January 25, 2021. 4838-2024-6238, v. 1
                                       -3-
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                                           12.

         It is State Farm Florida Insurance Company’s belief that, although the

Plaintiff did not specify the amount of damages to be sought at trial in his

Complaint, the amount of contract damages sought by the Plaintiff at the trial of

this case would be in excess of $75,000.00.

                                           13.

         This Affidavit is given in support of the Notice of Removal filed on behalf

of State Farm Florida Insurance Company in the case Lonnie Love v. State Farm

Florida Insurance Company, and for all purposes authorized by law.

                                           14.

         I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

         Executed on this __________ day of February, 2021.



                                          _________________________________
                                          SHAWN HOGGE



4837-1980-5405, v. 1




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                         EXHIBIT 1
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                     In The Matter Of:
            STATE FARM INSURANCE COMPANIES
                       LONNIE LOVE




                   EUO of LONNIE DALE LOVE
                       November 5, 2020




                         JPA REPORTING, LLC
                    CERTIFIED COURT REPORTERS
                       404 -853-1811 1-888 -947- 2963




                          Original File 1105Love20.txt
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STATE FARM INSURANCE COMPANIES                                                            EUO of LONNIE DALE LOVE
LONNIE LOVE                                                                                         November 5, 2020
                                                     Page 1                                                          Page 3
                STATE FARM INSURANCE COMPANIES                                       INDEX TO EXHIBITS
   _____________________________________________________

                                                                          EXHIBIT                             PAGE
                             |
    IN RE:                   |
                             | CLAIM NO.: 59-11P3-20M
         LONNIE LOVE,        |                                           Exhibit 1                            85
                             | DOL: 09/06/2020
               Insured.      |
                             |                                           Appraisal Certificates
                             |                                           Four Pages
                             |
   ______________________________________________________

                                                                         Exhibit 2                            85
          VIDEOCONFERENCE EXAMINATION UNDER OATH OF
                                                                         Sworn Statement in Proof of Loss
                      LONNIE DALE LOVE                                   Claim Number 59-11P3-20M



                                                                         Exhibit 3                            88
                  Thursday, November 5, 2020

                          11:00 a.m.                                     Letter, Weiner to Love
                                                                         November 2, 2020


           Videoconference with connections from:
          Roswell, Atlanta and Alpharetta, Georgia

                                                                         (Original Exhibits 1 through 3 have been
                                                                     attached to the original transcript.)
                  Judy J. Smith, CCR-A-521




                                                     Page 2                                                          Page 4

   APPEARANCES OF COUNSEL                                      [1]         (Reporter disclosure made pursuant to
                                                               [2]    Article 10.B of the Rules and Regulations of the
                                                               [3]    Board of Court Reporting of the Judicial Council
        On behalf of State Farm Insurance Company:
                                                               [4]    of Georgia.)
                DENISE E. WEINER, Esq.
                                                               [5]         MS. WEINER: Mr. Love, my name is Denise
                Hall Booth Smith, P.C.                         [6]    Weiner. I'm an attorney, and I was hired by
                191 Peachtree Street, N.E.                     [7]    State Farm to obtain your examination under oath
                Suite 2900                                     [8]    which is why we're here today.
                Atlanta, Georgia 30303                         [9]         There's a court reporter here, you see
                404-954-6955                                  [10]    her, Judy Smith, and she is going to be taking
                dweiner@hallboothsmith.com
                                                              [11]    down everything that we say here at this
                                                              [12]    examination under oath.
                                                              [13]         When the examination under oath is
        On behalf of the Insured:                             [14]    complete she's going to prepare what's called a
                                                              [15]    transcript which is just like a little book of
                JAMIE B. HERNAN, Esq.                         [16]    everything that we say here today, and when she's
                The Hernan Law Firm                           [17]     done transcribing, she'll send me a copy and I'm
                10896 Crabapple Road                          [18]     going to send a copy to your attorney, Jamie
                Roswell, Georgia 30075                        [19]     Hernan, and when you get it or when he gets it,
                678-275-4000
                                                              [20]     he'll get it to you.
                jamie@hernanfirm.com
                                                              [21]           You'll need to read that transcript and
                     - - -                                    [22]     complete what's called an errata sheet, which is
                                                              [23]     just a document that allows you to make any
                                                              [24]     changes to your testimony if you remember
                                                              [25]     something different than what you told us here


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STATE FARM INSURANCE COMPANIES                                                              EUO of LONNIE DALE LOVE
LONNIE LOVE                                                                                           November 5, 2020
                                                     Page 5                                                          Page 7

 [1]    today or maybe the court reporter took it down         [1]     Q. Can you tell me your address in Miramar
 [2]    wrong, whatever it may be.                             [2]   where you live?
 [3]          You can make those changes on that errata        [3]     A.                            .
 [4]    sheet, and you can sign and notarize that errata       [4]     Q. And that's Miramar, what's the zip code
 [5]    sheet and your attorney can get that back to me        [5]   there?
 [6]    and you guys can keep the transcript for your          [6]     A. 33027.
 [7]    records.                                               [7]     Q. What's your address here in Atlanta?
 [8]          THE WITNESS: All right.                          [8]     A.                                          ,
 [9]          MS. WEINER: I don't think we're going to         [9]   and it's not a street or avenue, it's just    ,
[10]    be here too terribly long today, but if you need      [10]   and that's Alpharetta, Georgia.
[11]    to take a break for any reason, we certainly can.     [11]     Q. I'm sorry, what were the numbers there for
[12]    Just let me know and we'll do that, okay?             [12]   the address at              ?
[13]          THE WITNESS: Okay.                              [13]     A.           .
[14]              LONNIE DALE LOVE,                           [14]     Q. On your driver's license, which address
[15] having been first duly sworn, was examined and           [15]   does it have?
[16] testified as follows:                                    [16]     A. It actually don't have an address. It
[17]                EXAMINATION                               [17]   has a P.O. box just for purposes of not knowing, you
[18] BY MS. WEINER:                                           [18]   know, people, I don't really like people knowing who I
[19]    Q. Mr. Love, could you state your full name           [19]   am, having access to my address.
[20] for me?                                                  [20]     Q. Is your driver's license a Georgia
[21]    A. Lonnie Dale Love.                                  [21]   driver's license or a Florida driver's license?
[22]    Q. You faded out for a second. Can you say            [22]     A. I have a Georgia driver's license.
[23] it one more time?                                        [23]     Q. What's your P.O. Box?
[24]    A. Lonnie Dale Love.                                  [24]     A.                       Atlanta, Georgia, 30325.
[25]    Q. Did you say your middle name was Dale?             [25]     Q. How long have you lived at the address in

                                                     Page 6                                                          Page 8

 [1]     A.   Dale, D-A-L-E.                                   [1]   Alpharetta?
 [2]             (Off the record discussion.)                  [2]     A. Say it one more time.
 [3]   BY MS. WEINER:                                          [3]     Q. Yes, sir. How long have you lived at the
 [4]    Q. So it's Lonnie Dale Love, right?                    [4]   address in Alpharetta?
 [5]    A. Yes.                                                [5]     A. Say it again. You blanked.
 [6]    Q. Did you say yes?                                    [6]     Q. Can you hear me now?
 [7]    A. Yes.                                                [7]     A. How long was I there for, five years, four
 [8]    Q. Mr. Love, where do you currently reside?            [8]   years, yeah, about four years.
 [9]   What's your address?                                    [9]     Q. About four years, all right. How long
[10]          MS. WEINER: We can't hear you, Mr. Love,        [10]   have you lived at the address in Florida?
[11]     I'm sorry. Because both of us can't hear you,        [11]     A. Maybe over 10.
[12]     I'm not sure what the issue is.                      [12]     Q. The address in Alpharetta, do you live
[13]          MR. HERNAN: Give me a minute. I'm going         [13]   there by yourself or are there other folks that live
[14]     to use a different computer. I'm going to leave      [14]   there with you?
[15]     for a moment we'll log back in a moment.             [15]     A. My kids. I got kids. When it's my time
[16]                     (Brief recess.)                      [16]   to keep my kids, they're there.
[17]   BY MS. WEINER:                                         [17]     Q. So you've got kids under the age of 18?
[18]    Q. Mr. Love, you were telling me before we            [18]     A. Yeah.
[19]   took our break for our technical issues when I asked   [19]     Q. Same thing in Florida?
[20]   you where you lived, I believe you said that you had   [20]     A. No.
[21]   two separate residences. Was that what you were        [21]     Q. Who lives at the address with you in
[22]   saying?                                                [22]   Florida?
[23]     A. Yes.                                              [23]     A. Why is that important?
[24]     Q. Where are those residences?                       [24]     Q. I'm just trying to get some information
[25]     A. Atlanta and Miramar.                              [25]   regarding your residences and who lives with you, who


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STATE FARM INSURANCE COMPANIES                                                                EUO of LONNIE DALE LOVE
LONNIE LOVE                                                                                             November 5, 2020
                                                      Page 9                                                         Page 11

 [1]   might have seen the jewelry we're going to talk about.   [1]     from Gold Coast Realty School?
 [2]      A. I really don't want to discuss who lives        [2]           A. Yes, ma'am.
 [3]   with me because then I'm bringing them into my        [3]           Q. Any other schooling or training other than
 [4]   situation. So that's really irrelevant. That's        [4]        Gold Coast Realty School?
 [5]   irrelevant who lives with me at either one of my      [5]           A. No, ma'am.
 [6]   addresses. I don't want to answer that. It doesn't [6]              Q. Have you ever filed bankruptcy before?
 [7]   really matter.                                        [7]           A. I can't really remember. I mean not that
 [8]           When it's my time to keep my kids in          [8]        I remember. Maybe I did in my early 20's. I can't
 [9]   Atlanta, they live with me while I'm in Atlanta; but [9]         really remember. I don't remember that.
[10]   when I'm in Florida, I really don't want to get into [10]           Q. If you did, it wasn't any time recently
[11]   who lives with me, their names, you know, all of that. [11]      like in the last 10 years or anything?
[12]   I ain't going to get into all of that about my jewelry [12]         A. No, of course not, no, not in the last 20
[13]   claim that I paid good money for.                      [13]      years.
[14]            I really feel like I'm being singled out      [14]         Q. What's your date of birth?
[15]   because I'm a black man, you know what I'm saying.       [15]       A. 5-22-75.
[16]   So it is what it is. They don't say that when I go [16]                   MS. WEINER: Off the record.
[17]   buy the half million dollars cars and get them     [17]                      (Off the record discussion.)
[18]   insured. They don't ask me all these questions when I  [18]      BY MS. WEINER:
[19]   do that.                                               [19]         Q. What do you do for work? What's your
[20]            Now it's time for me to make a claim, you [20]          employment?
[21]   know what I'm saying, and get something repaid back to [21]               MR. HERNAN: Are you back on the record,
[22]   me, it's a problem. So no, I don't feel like I want [22]             Denise?
[23]   to answer that. So you can ask the next question. [23]                    MS. WEINER: I'm sorry, back on the
[24]     Q. So you're not going to tell me the folks          [24]          record, yes.
[25]   that live with you in Florida, just to make the record [25]               MR. HERNAN: Can you repeat the question?

                                                     Page 10                                                         Page 12

 [1]   clear?                                                    [1]             MS. WEINER: I was just asking Mr. Love
 [2]           MR. HERNAN: I think he explained himself.         [2]        what he did for employment, what is his job.
 [3]           MS. WEINER: Okay, noted.                          [3]             THE WITNESS: I'm a music producer.
 [4]   BY MS. WEINER:                                            [4]    BY MS. WEINER:
 [5]     Q. Mr. Love, are you married?                           [5]       Q. Do you have a company that you work for?
 [6]     A. Single.                                              [6]       A. No, I have several companies that I own.
 [7]     Q. Have you ever been married?                          [7]    I don't work for anyone.
 [8]     A. Yeah.                                                [8]       Q. What are the names of the companies that
 [9]     Q. How many times have you been married?                [9]    you own?
[10]     A. One time.                                           [10]       A. You Dig Music Group; Love Holdings, LLC;
[11]     Q. Mr. Love, where did you grow up? What               [11]    Love Parking, which is public parking lots; Money
[12]   state did you grow up in? I'm sorry, Mr. Love, you       [12]   M.O.B. ENT, which is a management company signed to a
[13]   were frozen there for a second.                          [13]    major record label. That's about it.
[14]           MR. HERNAN: You're going to need to              [14]     Q. You Dig Music Group, Love Holdings, LLC
[15]       repeat that question.                                [15]    and what was the parking company? I didn't get that
[16]   BY MS. WEINER:                                           [16]    one.
[17]     Q. I asked what state did you grow up in?              [17]      A. Love Parking.
[18]     A. I grew up in a lot of states.                       [18]      Q. Okay, and then the last one, I didn't get
[19]     Q. Where did you graduate from high school?            [19]    that one either?
[20]     A. Wisconsin.                                          [20]      A. Money M.O.B. ENT. It's LLC, I'm sorry.
[21]     Q. After graduating from high school, did you          [21]      Q. Are those all incorporated here in
[22]   obtain any additional schooling or training?             [22]    Georgia?
[23]     A. I went to Gold Coast Realty School in               [23]      A. I think they're unilateral, right? You
[24]   Sawgrass, Florida.                                       [24]    Dig Music is Florida, is a Florida entity.
[25]     Q. Did you obtain a degree or certificate              [25]      Q. But the other ones you listed with


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LONNIE LOVE                                                                                             November 5, 2020
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 [1]   Georgia?                                                 [1]      Q. You file tax returns, right, Mr. Love?
 [2]     A. Can you hear me?                                    [2]      A. I don't think that I've filed as of yet.
 [3]     Q. The other companies you listed are Georgia          [3]      Q. For 2019, you haven't filed yet?
 [4]   companies?                                               [4]      A. Yeah.
 [5]     A. Hello?                                              [5]      Q. But you filed for the preceding years,
 [6]     Q. You were frozen there for a second, Mr.             [6]    2018, 2017, correct?
 [7]   Love. The other companies that you listed other than     [7]      A. I don't handle that. I really don't
 [8]   You Dig Music Group, are those Georgia companies?        [8]   handle any of that. My accountant and my CPA handles
 [9]     A. The other ones are, but You Dig Music is a          [9]    everything. So I'm sure they did.
[10]   Florida company.                                        [10]      Q. So you're not sure in you filed taxes in
[11]     Q. So other than you owning these four                [11]    the last couple of years?
[12]   companies, do you have any other employment? Can you    [12]      A. I mean I don't handle that. Like I
[13]   hear me?                                                [13]    really have managers and assistants and everything
[14]     A. Can you hear me now?                               [14]    that really runs my life entirely, to its entirety.
[15]     Q. Yes, sir, I can hear you.                          [15]    Like even with the Florida people, the insurance and
[16]     A. Yeah. You Dig is a Florida company, and            [16]    whatnot in Florida, like I went and originally met
[17]   the other two is Georgia companies.                     [17]    with them many, many years ago but I've never, like I
[18]     Q. Other than those companies that you own,           [18]    don't pay my bills. I don't communicate with them.
[19]   those four companies that you listed out, do you have   [19]    I don't file claims.
[20]   any other employment or sources of income other than    [20]             I'm not in the loop like that. So I
[21]   those companies?                                        [21]    would have to really get you that information. My
[22]     A. No.                                                [22]    life is not designed and set up like that, you know
[23]     Q. How long have you owned these companies?           [23]    what I mean. I have drivers. I have security
[24]     A. I don't know.                                      [24]    guards that work for me. I have maids that work for
[25]     Q. I mean have you been doing this kind of            [25]    me. You know, I'm a celebrity. I'm in the

                                                     Page 14                                                          Page 16

 [1]   work for the last 20 years, I guess, is what I'm         [1]    entertainment business. My life is a little
 [2]   asking?                                                  [2]    different than the average person.
 [3]      A. Yeah.                                              [3]           So the questions that you asked me, ma'am,
 [4]      Q. Do you derive income from these four               [4]    I really don't have all the answers, not that I don't
 [5]   companies?                                               [5]    want to give them to you, but I just don't have them.
 [6]      A. Yes.                                               [6]    I don't know.
 [7]      Q. Do you get income from the companies every         [7]       Q. Could you go to those people that assist
 [8]   month?                                                   [8]    you in, for example, filing your taxes and get that
 [9]      A. Random, you know. It just depends on how           [9]    information and supply it to your attorney?
[10]   I structure every deal. It's a deal-by-deal basis.      [10]       A. I'm sure I could, yeah, but I don't see
[11]      Q. What is your yearly income?                       [11]    why that's even relevant, though.
[12]      A. I mean I really don't know. It kind of            [12]       Q. I'm just asking, since you're not familiar
[13]   varies. I don't know. I'd have to go through my         [13]    with that information as you sit here today I'm asking
[14]   books and all that. I didn't know that I had to come    [14]    you to try to get that information and then provide it
[15]   with all that.                                          [15]    to your attorney.
[16]     Q. Can you give me a range as to what your            [16]            We asked for your tax returns, is one of
[17]   yearly income was over the last several years?          [17]    the things that we asked. I know you may not have
[18]     A. I mean I don't know, maybe, I don't know.          [18]    that with you here today, but that could help with
[19]   What would you say?                                     [19]    this information.
[20]     Q. Unfortunately, Mr. Hernan can't answer             [20]      A. Okay, but let me just say this, though.
[21]   that for you.                                           [21]    I understand what you're asking for. You're asking
[22]     A. I don't know. I don't know what my books           [22]    for a lot of stuff, but I am telling you now and in
[23]   look like. I don't know, a million dollars. I           [23]    front of my lawyer I will say it and I will say it
[24]   don't know, because I don't have that in my hand. I     [24]    again, certain things, I just will not be giving you
[25]   didn't know to come with that.                          [25]    people anyway because I really feel like it's


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                         EXHIBIT 2
                                        State Farm Florida Insurance Company
                                              CaseWith
                                 A Stock Company    1:21-cv-00786-ELR         Document
                                                       Home Offices in Winter Haven, Florida1-2DECLARATIONS
                                                                                                 Filed 02/24/21 Page 13AMENDED
                                                                                                                        of 17 AUG 10 2020
                                                                                                               PAGE
                                 Po Box 88049                                                                Policy Number      59-CK-S034-0
                                 Atlanta GA 30356-9901
                               Named Insured
                                                                                                             Policy Period      Effective Date   Expiration Date
                               AT1                                    H-19-7451-FA6F         P   F           12 Months          JUN 15 2020       JUN 15 2021
                                                 000079     0046
                                                     000079 0046                                             The policy period begins and ends at 12:01 am
                               LOVE, LONNIE                                                                  standard time at the named insured's address.
                               ATLANTA GA              30325-0897
____
____                                                                                                                                                               ____
____                                                                                                                                                               ____
____                                                                                                                                                               ____
        0102-0005
        ST-




                PERSONAL ARTICLES POLICY
              AUTOMATIC RENEWAL - If the POLICY PERIOD is shownas 12 MONTHS, this policy will be renewed automatically subject to
              the premiums, rules and forms in effect for each succeeding policy period. If this policy is terminated we will give you
              and the Mortgagee/Lienholderwritten notice in compliance with the policy provisions or as required by law.
                                                                  For questions, problems, or to obtain information about coverage call:     954-613-1010




                                                                                                                                                                    IPPD
                                                                                 Amount of           Your policy is amended AUG 10 2020
            Class of Property                                                    Insurance            JEWELRY COVERAGE CHANGED




                                                                                                                                                                    0046 19
              Jewelry as scheduled                                           $       137,200




                                                                                                                                                                    000079 P SEP 15 2020
                                                                                                                                                                    51
                                                                                                                                                                    59-CK-S034-0
                                       (SCHEDULE ATTACHED)
                              Forms, Options, and Endorsements                                       ENDORSEMENT PREMIUM
                PERSONAL ARTICLES POLICY                                         FP-7942             INCREASE                                $          132.13
                AMENDATORY ENDORSEMENT                                           FE-7749
                LOSS SETTLEMENT ENDORSEMENT                                      FE-3357




              NOTICE: We have the option of repairing or
              replacing the lost or damaged property at our                                      We will provide the insurance described in this policy in
              cost. If we agree to a cash settlement, we will                                    return for the premium and compliance with all applicable
              pay you no more than our cost to replace the item.                                 provisions of this policy.

                Your policy consists of this page, any endorsements
                and the policy form. PLEASE KEEP THESE TOGETHER.

             FP-7070.3C
                0202           1 51 I
               N                                    Prepared   SEP 15 2020                 HENRIQUEZ INS AND FIN SVCS INC
                                                                                           954-613-1010
                    555-7020 c.1 (o1f0391c) Rev. 03-2002
       39
                         Case 1:21-cv-00786-ELR Document 1-2 Filed 02/24/21   Page 14 of 17
                                         CONTINUED FROM FRONT SIDE




     PERSONAL ARTICLES POLICY
                                               Amount of
     Class of Property                         Insurance




            Forms, Options, and Endorsements




                                                                                              o1f0392d
BK                                                                                            Rev. 07-2002
                                            Case 1:21-cv-00786-ELR  Document
                                                                 PERSONAL    1-2 Filed 02/24/21 Page 15 of 17
                                                                          ARTICLES
                                   Policy Number                                               AUG 10 2020
                                    59-CK-S034-0                     SCHEDULE


                                                                H- 7451-FA6F           P     F
                                                000079   0046
                               LOVE, LONNIE
                               Named Insured

____                                                                                                                 ____
____
____                                                                                                                 ____
        0202-0005




                     Property Covered:           Jewelry
        ST-




                      Item                                                                                Coverage
                     Number                                                    Description                 Amount
                     ______                                                    ___________                ________

                             3 added        GENTS RND BRILL CUT DIA PAVE SET BAND RING, MOUNTING
                                            IS CUTSTOM MADE OF 14K WG, APPROX 4.50 CTW, CLARITY
                                            VS2-SI2, COLOR G                                          $      9,500




                                                                                                                      IPPD
                                                                                                                      0046 19
                                                                                                                      000079 P SEP 15 2020
                                                                                                                      51
                                                                                                                      59-CK-S034-0


                                       (This Schedule page reflects only the items that were added,
                                        deleted or changed on the date indicated above. The total
                                        coverage amount is indicated on the amended dec page.)

                     0203

       42           o1f0393c Rev. 03-2002
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                         EXHIBIT 3
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      S* StateFarm                                Sworn Statement in Proof of Loss
                                                                       Personal Articles Policy

                                                                                                                        Claim Number: 59 -11P3-20M

I, Lonnie Love , submit the following answers and listed attachments as my proof of loss :
     Name of Insured
The time of loss was September 06, 2020 (date) at approximately 3:00 am (time).
                                              were inside my vehicle which was stolen. The vehicle was recovered but the items were gone.
I believe the cause of the loss was the items

I believe the location of the loss was 887 Spring St NW, Atlanta GA 30308. The vehicle was stolen when it was pulled up to valet parking.

I believe the facts of the loss are that my vehicle was stolen. Although the vehicle was recovered. I had personal items in the vehicle that were

    not recovered including (but not limited to) the following pieces of jewelry:

    Diamond ring - approximately 5 carats (GIA Report#: 5191985382)
    Rolex watch - Oyster Perpetual Datejust II - Serial #: 4H895947 - Model #: 72210

    Man's diamond band ring - approximately 4.5 carats - Certificate #: 3132314




I   do / 0 do not have other insurance which applies to the structure and/or personal property covered by this policy.
The other company providing coverage is
I       am / 0 am not attaching a detailed estimate of repair from                  ( Note: Appraisals previously submitted)    of the damaged property.
I 0 am /    am not attaching an inventory which shows in detail the quantity, description, actual cash value, and amount of loss of all
personal property for which I am making claim. I am making claim for $ 137,200.00                         for damaged property .
I assign to State Farm ® all my rights of recovery against any person for this loss, to the extent that payment is made, and agree to
cooperate with State Farm in a reasonable manner and do nothing to prejudice this right of recovery.
I did not cause or procure this loss; nothing has been done by or with my consent or agreement to violate the provisions of the policy so
as to render it void. I have not concealed or attempted to deceive State Farm as to the extent or cause of this loss in any manner.
It is agreed that State Farm is not giving up any rights by supplying this form or by assisting in the completion of this proof, and I am not
giving up any rights by completing and submitting this form.
    Pursuant to s. 817.234, Florida Statutes, any person who, with the intent to injure, defraud, or deceive any insurer or insured, prepares ,
    presents, or causes to be presented a proof of loss or estimate of cost or repair of damaged property in support of a claim under an
    insurance policy knowing that the proof of loss or estimate of claim or repairs contains any false, incomplete, or misleading information
    concerning any fact or thing material to the claim commits a felony of the third degree, punishable as provided in s. 775.082, s. 775.083 , or
    s . 775.084, Florida Statutes.




                                                                   09/24/2020

Sfgnature                                                         Date                   Signature                                         Date


Signature                                                         Date                   Signature                                         Date

Personally appeared before me, the day and date above written, Lonnie Love               signer of the foregoing statements, who
being by me duly sworn, made solemn oath that the matters containedjpJhe foregoing statements apertruein substance and in fact.

                                                                                                                                         (SEAL)
                                                                                                       Notary Butfiic
                                                                                                                                    a
                              z ^:
8/7/ 2014
